                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No. 18-cv-01299-GPG
(The above civil action number must appear on all future papers
  sent to the Court in this action. Failure to include this number
  may result in a delay in the consideration of your claims.)

STEVEN DUANE CURRY,

       Plaintiff/Applicant,

v.

[UNNAMED DEFENDANT/RESPONDENT],
,

       Defendant/Respondent.


              ORDER DIRECTING MR. CURRY TO CURE DEFICIENCIES


       On May 25, 2018, Steven Duane Curry submitted to the Court a Letter, ECF No. 1,

which is addressed to the “Chief Justice . . . U.S. Federal 10th Circuit District Court.”   Mr.

Curry currently is detained at the Otero County Detention Center in Alamogordo, New

Mexico. It appears that Mr. Curry is challenging his current detention at the Otero

Detention Center pending a criminal proceeding in the Twelfth Judicial District of the

State of New Mexico. It is not clear whether Mr. Curry intends to file an action in the

United States District Court for the District of Colorado or to appeal to the United States

Court of Appeals for the Tenth Circuit of the dismissal of Curry v. State of New Mexico, et

al., No. 17-cv-01079-RB-GJF (D. N.M. May 9, 2018).




                                               1
       As part of the Court=s review pursuant to D.C.COLO.LCivR 8.1(b), the Court has

determined that the submitted document is deficient as described in this Order.

Accordingly, it is

       ORDERED that Mr. Curry clarify the intent of the letter he submitted to this Court

on May 25, 2018, and indicate if he desires to appeal the dismissal of Case No.

17-cv-01079-RB-GJF or to file a case in this Court. It is

       FURTHER ORDERED that any papers Mr. Curry files in response to this Order

must include the civil action number on this Order. It is

       FURTHER ORDERED that if Mr. Curry intends to file an action in this Court he

must obtain and submit his claims on the proper, current Court-approved forms,

depending on what claims he intends to pursue in this action. It is

       FURTHER ORDERED that Mr. Curry may obtain the forms, (with the assistance of

his case manager or the facility=s legal assistant), along with the applicable instructions, at

www.cod.uscourts.gov, if he intends to file an action in this Court. It is

       FURTHER ORDERED that if Mr. Curry fails to comply with this Order within thirty

days from the date of this Order the action will be dismissed without further notice.

       DATED May 26, 2018, at Denver, Colorado.

                                           BY THE COURT:

                                           s/Gordon P. Gallagher
                                           United States Magistrate Judge




                                              2
